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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                              CR 17-435-DMG
                                             PLAINTIFF(S)
                             v.
SHI SHAN PIAO and                                                    NOTICE OF MANUAL FILING
RUNZA JIA,                                                                 OR LODGING
                                           DEFENDANT(S).

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October 3, 2019                                               AUSA ANDREW BROWN
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented

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